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UNITED STATES DISTRICT COURT                           ~lLLFr'T'•~r\
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SOUTHERN DISTRICT OF NEW YORK                           !   ,)f'• -, ; ,.
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WILLIAM LOFTUS                                         li ;-:-•~:~:    ~·r_~:u. /o/i1/;-o;o
                         Plaintiff,               19        CV     7984 (JGK)

                                                  MEMORANDUM OPINION AND
               - against -                        ORDER

SIGNPOST, INC.

                         Defendant .


JOHN G. KOELTL, District Judge:

      The plaintiff brings this putative class action against

Signpost Inc ., alleging violations o f the Telephone Consumer

Protection Act of 1991 ("TCPA"), 47 U.S . C . §227 et seq .                                  The

defendant , Signpost Inc ., moves to stay this action pending the

Supreme Court ' s decision in Facebook Inc . v . Duguid , No . 19-511 ,

which potentially will answer the question of what type of

equipment qualifies as an automatic telephone dialing system

("ATOS " ) .    The answer to that question is pivotal in this case

and may shape the progress of discovery and the ultimate outcome

in this case .      In a previous decision, this Court stayed this

case pending the decision of another Supreme Court case , Barr v .

Am. Ass ' n of Political Consultants , No . 19-631, 140 S . Ct . 812 .

See Loftus v . SignPost Inc ., No. 19 - cv - 7984 , 2020 WL 2848231 , at

*l (S . D. N. Y. June 2 , 2020) , 0kt . 41 . The Court applied the five

factors set out by the court in Kappel v . Comfort , 914 F . Supp.
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1056 , 1058 (S . D. N. Y. 1996) , and stayed the action.    Those same

factors support a stay of this action pending a decision by the

Supreme Court in the Facebook case .

     A decision in the Facebook case may substantially resolve

the present case , easing the burden of discovery on the

defendant and saving judicial resources.        The plaintiff will not

be harmed by the stay because the defendant has attested that it

is aware of its obligations and has instituted a litigation hold

to preserve documents that may be relevant to the litigation .

The stay is for a relatively brief period of time because the

Supreme Court will likely decide the Facebook case at some point

in the current Term .    The balance of the relevant factors weighs

decidedly in favor of a stay .     The defendant points out without

contradiction that all of the other courts that have faced the

question of whether to stay litigations pending a decision in

the Facebook case have stayed similar cases .

                               CONCLUSION

     The Court has considered all of the arguments raised by the

parties.   To the extent not specifically addressed , the

arguments are either moot or without merit .        The defendant ' s

motion to stay this action pending a decision by the Supreme

Court in the Facebook case is granted .       The parties should

inform the Court promptly after the Supreme Court has decided
         Case 1:19-cv-07984-JGK Document 53 Filed 10/19/20 Page 3 of 3



the Facebook case and provide the Court with letter briefs on

the effect of that decision on this case .

             The Clerk is directed to close Docket No . 45 .

SO ORDERED .

Dated:       New York, New York
             October 19, 2020

                                          United States District Judge
